Case 1:25-cv-00039-JJM-PAS   Document 1-1   Filed 01/28/25   Page 1 of 3 PageID #:
                                     45




               Exhibit A
Case 1:25-cv-00039-JJM-PAS                   Document 1-1            Filed 01/28/25          Page 2 of 3 PageID #:
                                                     46




                             EXECUTIVE OFFICE OF THE PRESIDENT
                                  OFFICE OF MANAGEMENT AND BUDGET
                                              WASHINGTON, D.C. 20503


THE DIRECTOR
                                                  January 27, 2025

 M-25-13

 MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

 FROM:             Matthew J. Vaeth, Acting Director, Office of Management and Budget

 SUBJECT:          Temporary Pause of Agency Grant, Loan, and Other Financial Assistance
                   Programs


         The American people elected Donald J. Trump to be President of the United States and
 gave him a mandate to increase the impact of every federal taxpayer dollar. In Fiscal Year 2024,
 of the nearly $10 trillion that the Federal Government spent, more than $3 trillion was Federal
 financial assistance, such as grants and loans. Career and political appointees in the Executive
 Branch have a duty to align Federal spending and action with the will of the American people as
 expressed through Presidential priorities. Financial assistance should be dedicated to advancing
 Administration priorities, focusing taxpayer dollars to advance a stronger and safer America,
 eliminating the financial burden of inflation for citizens, unleashing American energy and
 manufacturing, ending “wokeness” and the weaponization of government, promoting efficiency
 in government, and Making America Healthy Again. The use of Federal resources to advance
 Marxist equity, transgenderism, and green new deal social engineering policies is a waste of
 taxpayer dollars that does not improve the day-to-day lives of those we serve.

         This memorandum requires Federal agencies to identify and review all Federal financial
 assistance1 programs and supporting activities consistent with the President’s policies and
 requirements.2 For example, during the initial days of his Administration, President Donald J.
 Trump issued a series of executive orders to protect the American people and safeguard valuable
 taxpayer resources, including Protecting the American People Against Invasion (Jan. 20, 2025),
 Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025), Putting America First in
 International Environmental Agreements (Jan. 20, 2025), Unleashing American Energy (Jan. 20,
 2025), Ending Radical and Wasteful Government DEI Programs and Preferencing (Jan. 20,

 1
   2 CFR 200.1 defines Federal financial assistance to mean “[a]ssistance that recipients or subrecipients receive or
 administer” in various forms, but this term does not include assistance provided directly to individuals. For the
 purposes of this memorandum, Federal financial assistance includes: (i) all forms of assistance listed in paragraphs
 (1) and (2) of the definition of this term at 2 CFR 200.1; and (ii) assistance received or administered by recipients or
 subrecipients of any type except for assistance received directly by individuals.
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   Nothing in this memo should be construed to impact Medicare or Social Security benefits.
Case 1:25-cv-00039-JJM-PAS            Document 1-1       Filed 01/28/25      Page 3 of 3 PageID #:
                                              47



 2025), Defending Women from Gender Ideology Extremism and Restoring Biological Truth to
 the Federal Government (Jan. 20, 2025), and Enforcing the Hyde Amendment (Jan. 24, 2025).
 These executive orders ensure that Federal funds are used to support hardworking American
 families.

         To implement these orders, each agency must complete a comprehensive analysis of all
 of their Federal financial assistance programs to identify programs, projects, and activities that
 may be implicated by any of the President’s executive orders. In the interim, to the extent
 permissible under applicable law, Federal agencies must temporarily pause all activities related
 to obligation or disbursement of all Federal financial assistance, and other relevant agency
 activities that may be implicated by the executive orders, including, but not limited to, financial
 assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the
 green new deal.

         This temporary pause will provide the Administration time to review agency programs
 and determine the best uses of the funding for those programs consistent with the law and the
 President’s priorities. The temporary pause will become effective on January 28, 2025, at 5:00
 PM. Even before completing their comprehensive analysis, Federal agencies must immediately
 identify any legally mandated actions or deadlines for assistance programs arising while the
 pause remains in effect. Federal agencies must report this information to OMB along with an
 analysis of the requirement. OMB also directs Federal agencies to pause all activities associated
 with open NOFOs, such as conducting merit review panels.

        No later than February 10, 2025, agencies shall submit to OMB detailed information on
 any programs, projects or activities subject to this pause. Each agency must pause: (i) issuance of
 new awards; (ii) disbursement of Federal funds under all open awards; and (iii) other relevant
 agency actions that may be implicated by the executive orders, to the extent permissible by law,
 until OMB has reviewed and provided guidance to your agency with respect to the information
 submitted.

         OMB may grant exceptions allowing Federal agencies to issue new awards or take other
 actions on a case-by-case basis. To the extent required by law, Federal agencies may continue
 taking certain administrative actions, such as closeout of Federal awards (2 CFR 200.344), or
 recording obligations expressly required by law.

         Additionally, agencies must, for each Federal financial assistance program: (i) assign
 responsibility and oversight to a senior political appointee to ensure Federal financial assistance
 conforms to Administration priorities; (ii) review currently pending Federal financial assistance
 announcements to ensure Administration priorities are addressed, and, subject to program
 statutory authority, modify unpublished Federal financial assistance announcements, withdraw
 any announcements already published, and, to the extent permissible by law, cancel awards
 already awarded that are in conflict with Administration priorities, and; (iii) ensure adequate
 oversight of Federal financial assistance programs and initiate investigations when warranted to
 identify underperforming recipients, and address identified issues up to and including
 cancellation of awards.



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